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 4   Telephone: (559) 497-4000

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:09CR0339 LJO
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            ) STIPULATION RE:
                                        ) CONTINUANCE AND
15                                      ) ORDER
                                        )
16                                      )
     MIGUEL GOMEZ-GOMEZ and             )
17   DIOCELINA BUSTOS ABARCA,           )
                                        )
18                                      )
                                        )
19                  Defendants.         )
     ___________________________________)
20   UNITED STATES OF AMERICA,          ) 1:11-CR-0093 LJO
                                        )
21                  Plaintiff,          )
                                        )
22               v.                     )
                                        )
23   DIOCELINA BUSTOS ABARCA and        )
     ALEJANDRO URIOSTEGUI-RODRIGUEZ,    )
24                                      )
                    Defendants.         )
25   ___________________________________)

26        Defendants in the above-captioned matters, by and through

27   their respective attorneys, and the United States of America, by

28   and through its attorneys, BENJAMIN B. WAGNER, United States

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 1   Attorney, and KAREN A. ESCOBAR, Assistant United States Attorney,

 2   hereby enter into the following stipulation:

 3        1.   The parties to the above-captioned matters agree to

 4   vacate the March 5, 2012, status conference and reset the matter

 5   for March 12, 2012, at 8:30 a.m.

 6        2.   The parties stipulate that the continuance is

 7   necessitated by the parties need to conduct further investigation,

 8   continue plea negotiations and effectively communicate the

 9   government’s plea offers to defendants, who are housed at Lerdo.

10        3.   The parties stipulate that time is excludable under the

11   Speedy Trial Act and that the ends of justice served by granting

12   the requested continuance outweigh the best interests of the

13   public and the defendant in a speedy trial, in that the failure

14   to grant the continuance would deny the parties’ sufficient

15   opportunity to conduct further investigation and/or resolve the

16   matter.

17    DATED: February 29, 2012                    Respectfully submitted,

18                                                BENJAMIN B. WAGNER
                                                  United States Attorney
19
                                                  By: /s/ Karen A. Escobar
20                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
21
                                                   /s/ James Homola
22                                                 JAMES HOMOLA
                                                   Attorney for Defendant
23                                                 Miguel Gomez-Gomez

24                                                 /s/ Peter Jones
                                                   PETER JONES
25                                                 Attorney for Defendant
                                                   Diocelina Bustos Abarca
26
                                                   /s/ Barbara O’Neill
27                                                 BARBARA O’NEILL
                                                   Attorney for Defendant
28                                                 Alejandro Uriostegui-

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 1                                                 Rodriguez

 2
                                    O R D E R
 3
              Having read and considered the foregoing stipulation,
 4
              IT IS THE ORDER of the Court that the current hearing date of
 5
     March 5, 2012, is hereby vacated and is reset for March 12, 2012,
 6
     at 8:30 a.m.
 7
              IT IS FURTHER ORDERED THAT time shall be excluded under the
 8
     Speedy Trial Act and that the ends of justice served by granting
 9
     the requested continuance outweigh the best interests of the
10
     public and the defendant in a speedy trial, in that the failure
11
     to grant the continuance would deny the parties’ sufficient
12
     opportunity to conduct further investigation and/or resolve the
13
     matter.
14
     IT IS SO ORDERED.
15
     Dated:     February 29, 2012          /s/ Lawrence J. O'Neill
16   b9ed48                            UNITED STATES DISTRICT JUDGE

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